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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Stream TV Networks, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  2009 Chestnut Street
                                  3rd Floor
                                  Philadelphia, PA 19103
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Philadelphia                                                   Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Stream TV Networks, Inc.                                                                     Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                3343

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
     A debtor who is a “small
     business debtor” must check                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     the first sub-box. A debtor as                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     defined in § 1182(1) who                                    $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     elects to proceed under                                     operations, cash-flow statement, and federal income tax return or if any of these documents do not
     subchapter V of chapter 11                                  exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     (whether or not the debtor is a                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     “small business debtor”) must                               debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     check the second sub-box.                                   proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known




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Debtor   Stream TV Networks, Inc.                                                                   Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                          preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                          A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or           No
    have possession of any
    real property or personal        Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                What is the hazard?
                                                 It needs to be physically secured or protected from the weather.
                                                  It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                 Other
                                             Where is the property?
                                                                               Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                 No
                                                 Yes. Insurance agency
                                                         Contact name
                                                         Phone



         Statistical and administrative information

13. Debtor's estimation of      .          Check one:
    available funds
                                              Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of              1-49                                              1,000-5,000                                25,001-50,000
    creditors                        50-99                                             5001-10,000                                50,001-100,000
                                     100-199                                           10,001-25,000                              More than100,000
                                     200-999

15. Estimated Assets                 $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities            $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




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